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                 IN THE UNITED STATE DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF GEORGIA
                         COLUMBUS DIVISION


RONALD MCDONALD HOUSE           )
CHARITIES, INC.                 )
                                )
    Plaintiff,                  ) Civil Action
                                ) No. 4:22-cv-00207
v.                              )
                                )
RONALD MCDONALD HOUSE           )
CHARITIES OF WEST GEORGIA, INC. )
                                )
    Defendant.                  )
                                )
                                )
                                )
                                )


                               CONSENT ORDER



      1.      On December 30, 2022, Plaintiff Ronald McDonald House Charities,

Inc. (“RMHC Global” or “Plaintiff”) filed a Complaint for Declaratory Judgment

and Injunctive Relief against Defendant Ronald McDonald House Charities of West

Georgia, Inc. (“RMHC of West Georgia” or “Defendant”) (collectively with the

Plaintiff the “Parties”), seeking (a) a judgment declaring that the Ronald McDonald

House Funds raised pursuant to the Parties’ License Agreement may only be used

for the Columbus, Georgia Ronald McDonald House and that Defendant RMHC of
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West Georgia may not transfer or otherwise dispose of those Funds to another entity

or for any other purpose, and (2) a temporary restraining order and preliminary

injunction against Defendant RMHC of West Georgia to enjoin it from transferring

or otherwise disposing of the Ronald McDonald House Funds to another entity

pending the adjudication of Plaintiff’s permanent declaratory relief claim on the

grounds asserted in the Complaint [Dkt. 1]; and

      2.      On December 30, 2022, Plaintiff RMHC Global also filed an

Emergency Motion for Temporary Restraining Order and Preliminary Injunction,

together with a supporting brief and evidence, (the “Motion”) asking the Court to

enjoin Defendant RMHC of West Georgia from transferring the Ronald McDonald

House Funds to another entity until the Court can rule on the merits of Plaintiff

RMHC Global’s declaratory judgment claim [Dkt. 4]; and

      3.      The Court held a hearing for January 10, 2023 where all Parties were

represented by counsel; and

      4.      During the January 10 hearing, among other arguments, Defendant

denied that Plaintiff was entitled to the relief requested in the Complaint and

Emergency Motion and contended that Plaintiff’s termination of the License

Agreement also terminated any contractual restrictions on the use of the Funds and

that Defendant was free to continue to operate the House and the Family Room at




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Piedmont Hospital as it had before but without the use of any RMHC Trademarks

or branding.

      5.       During the January 10 hearing, Defendant informed the Court that there

were still families staying at the House located at 1959 Hamilton Rd, Columbus,

Georgia that Defendant had operated as a Ronald McDonald House, prior to the

termination of the License Agreement, and that visitors to the Family Room at

Piedmont Hospital were continuing to be accommodated in the same way that the

Room had been operated previously as the Ronald McDonald Room prior to the

termination of the License Agreement.

      6.       During the hearing the Parties consented that, during the pendency of

this action, the Ronald McDonald House Funds may continue to be used solely to

support the regular operation of the House and Family Room, so that families may

continue to use the House and Family Room in a manner consistent as before the

termination of the License Agreement.

      7.       During the hearing, Defendant RMHC of West Georgia confirmed that

consistent with the termination of the Parties’ License Agreement, Defendant is in

the process of and will discontinue all use of any RMHC Trademarks or branding.

      8.       The Court then deferred ruling on the Plaintiff’s Motion for seven (7)

days, and instructed the Parties to provide the Court with a proposed Order

memorializing the Parties’ agreement reached during the hearing [Dkt. 7].

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      NOW, THEREFORE, PURSUANT TO FEDERAL RULE OF CIVIL

PROCEDURE 65(b)(2) AND THE PARTIES’ CONSENT, THE COURT

HEREBY ORDERS THE FOLLOWING:

      1.      While this action remains pending or until further order of the Court,

Defendant RMHC of West Georgia shall only use the Ronald McDonald House

Funds for the purposes of supporting and operating the House located at 1959

Hamilton Rd, Columbus, Georgia and the Family Room at Piedmont Hospital in a

manner consistent with the services provided prior to the termination of the Parties’

License Agreement. Defendant RMHC of West Georgia must not transfer or

otherwise dispose of the Ronald McDonald House Funds to another entity or for any

purpose other than as stated above.

      2.      Consistent with the termination of the Parties’ License Agreement and

with the representation from Defendant’s counsel at the January 10 hearing,

Defendant RMHC of West Georgia shall cease all use of any RMHC Trademarks or

branding and will not use any RMHC Trademarks or branding in any public-facing

manner. Defendant will not, however, be required to change its corporate name, nor

change the name on any of its accounts, until further order of the Court.

      3.      Pursuant to Federal Rule of Civil Procedure 65(d)(2), this Consent

Order shall be binding on Defendant RMHC of West Georgia and its agents,

servants, employees, attorneys, and other persons who are in active concert or

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participation with it and who receive notice of the Consent Order by personal service

or otherwise.

      4.      Consenting to this Order does not bind either party to any admissions

nor waive any claims or defenses in the pending litigation.

              SO ORDERED this 18th day of January, 2023.

                                 S/Clay D. Land
                                CLAY D. LAND
                                United States District Court Judge




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Consented to on January 17, 2023 by:

/s/ Daniel F. Diffley                      /s/ C. Morris Mullin
Daniel F. Diffley                          C. Morris Mullin
Georgia Bar No. 221703                     Georgia Bar No. 528550

/s/ Taylor Lin                             /s/ David C. Rayfield
Taylor Lin                                 David C. Rayfield
Georgia Bar No. 273408                     Georgia Bar No. 596706

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Counsel for Plaintiff Ronald McDonald davidrayfield@waldrepmullin.com
House Charities, Inc.
                                      Counsel for Defendant Ronald
                                      McDonald House Charities of West
                                      Georgia, Inc.




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